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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 09-776V
                                     Filed: January 10, 2014

* * * * * * * * * * * * * * * *                          UNPUBLISHED
EDDIE MAXIE,                                  *
                                              *          Special Master Dorsey
              Petitioner,                     *
                                              *          Joint Stipulation on Damages;
v.                                            *          Trivalent Influenza (Flu) Vaccine;
                                              *          Guillain-Barré Syndrome (GBS).
SECRETARY OF HEALTH                           *
AND HUMAN SERVICES,                           *
                                              *
              Respondent.                     *
* * * * * * * * * * * * * * * *
Lawrence R. Cohan, Anapol Schwartz, Philadelphia, PA, for petitioner.
Jennifer Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                                            DECISION1

        On November 12, 2009, Eddie Maxie (petitioner), filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that she sustained the first symptom or manifestation of Guillain-Barré
Syndrome (“GBS”) as a result of his receipt of a trivalent influenza (“flu”) vaccine, which he
received on or about November 15, 2006. Petitioner alleges that he experienced the residual
effects of this injury for more than six months.

       On January 9, 2014, the parties filed a stipulation, stating that a decision should be
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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entered awarding compensation.

        Respondent denies that the flu vaccine caused petitioner’s alleged injuries or any other
injury or his current disabilities. Nevertheless, the parties agree to the joint stipulation, attached
hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulated that petitioner shall receive the following compensation:

       1. A lump sum of $58,152.65, in the form of a check payable jointly to petitioner
          and Louisiana Department of Health & Hospitals/Medicaid, Attn. Daniel L.
          Duhon, P.O. Box 3836, Baton Rouge, LA 70821-3836, in satisfaction of the State
          of Louisiana Medicaid lien; and
       2. A lump sum of $250,000.00 in the form of a check payable to petitioner. This
          amount represents compensation for all damages that would be available under 42
          U.S.C. § 300aa-15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                               s/ Nora Beth Dorsey
                                               Nora Beth Dorsey
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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